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           EXHIBIT 5
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                                                           Transcript of Kevin Kreitzman                                       1 (1 to 4)

                                                           Conducted on October 2, 2023
                                                                    1                                                                       3
1                    UNITED STATES DISTRICT COURT                        1                    A P P E A R A N C E S
2                   NORTHERN DISTRICT OF CALIFORNIA                      2    ON BEHALF OF THE ADVERTISER PLAINTIFFS and
3                          SAN FRANCISCO DIVISION                        3    PUTATIVE CLASS:
4     -----------------------------x                                     4         AMANDA LAWRENCE, ESQUIRE
5     MAXIMILIAN KLEIN, et al., on         :                             5         BRIAN DUNNE, ESQUIRE
6     behalf of themselves and all         :                             6         SCOTT SCOTT
7     others similarly situated,           :    Case No.                 7         156 South Main Street
8                          Plaintiffs,     :    3:20-cv-08570-JD         8         P.O. Box 192
9        v.                                :                             9         Colchester, Connecticut 06415
10    META PLATFORMS, INC., a              :                             10        860.531.2645
11    Delaware corporation                 :                             11
12    headquartered in California,         :                             12   ON BEHALF OF THE DEFENDANT:
13                         Defendant.      :                             13        SONAL MEHTA, ESQUIRE
14    -----------------------------x                                     14        ANDREW WAKS, ESQUIRE
15                                                                       15        WILMER CUTLER PICKERING HALE & DORR, LLP
16                 Videotaped Virtual Deposition of                      16        2600 El Camino Real
17                            KEVIN KREITZMAN                            17        Suite 400
18                         Monday, October 2, 2023                       18        Palo Alto, California 94306
19                             9:08 a.m. CST                             19        650.858.6000
20                                                                       20
21                                                                       21   ALSO PRESENT:
22   Job No.:     509154                                                 22        Wei Zhao
23   Pages:     1 - 255                                                  23        Ilona Mostipan
24   Reported Stenographically by:                                       24        Michelle Mejia, Planet Depos Remote Tech
25   Tiffany M. Pietrzyk, CSR RPR CRR                                    25        Micah Hardin, Planet Depos Videographer



                                                                    2                                                                       4
1               Videotaped virtual deposition of KEVIN                   1                        C O N T E N T S
2    KREITZMAN, pursuant to notice, before Tiffany M.                    2    EXAMINATION OF KEVIN KREITZMAN                  PAGE
3    Pietrzyk, a Certified Shorthand Reporter in the                     3      By Ms. Mehta                                     6
4    States of Illinois, Texas, and California,                          4
5    Registered Professional Reporter, Certified Realtime                5                        E X H I B I T S
6    Reporter, and a Notary Public in and for the State                  6                 (Attached to transcript.)
7    of Illinois.                                                        7    DEPOSITION EXHIBITS                             PAGE
8                                                                        8    Exhibit 33      Expert Report of Kevin            68
9                                                                        9                    Kreitzman, dated 7/7/23
10                                                                       10   Exhibit 34      Expert Reply Report of Kevin      68
11                                                                       11                   Kreitzman, dated 9/15/23
12                                                                       12   Exhibit 35      Yardstick Index Selection        105
13                                                                       13                   Excel sheet
14                                                                       14   Exhibit 36      Exhibit 9 to Report              183
15                                                                       15   Exhibit 37      Autohome Inc. 20-F for the       187
16                                                                       16                   fiscal year ended 12/31/20
17                                                                       17   Exhibit 38      Wirtualna 2020 Annual Report     214
18                                                                       18
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                                            Transcript of Kevin Kreitzman                                   9 (33 to 36)

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                                                          33                                                             35
1 company earning a high economic profit over a long           1 is that earning economic profit over a nontransient
2 period of time, you know, to me, is an indication            2 period of time.
3 that this company has market power in order to do            3     Q. Right. But what I'm getting at is, is that
4 that.                                                        4 economic profit just anything that's net positive,
5    Q. Okay.                                                  5 or is there some numerical threshold above zero?
6    A. That's just, again, a definition.                      6     A. Again, I haven't seen any definitions that,
7    Q. Right. But what I'm getting at is you've               7 you know, quantify, you know, more than 2 percent or
8  said you haven't formed that opinion and then you           8 3 percent or -- no, I've never seen that.
9 keep telling me that, in general, that's how it              9     Q. With respect to your understanding of it, is
10 works. Let's talk first about your opinions in this         10 it your understanding then in that case where you're
11 case and then we'll talk about that in general.             11 talking about an economic profit over a nontransient
12      With respect to your opinions in this case,            12 period of time, that that simply means a positive
13 you have not offered an opinion that Meta has market        13 profit, meaning something above zero?
14 power or monopoly power; correct?                           14 A. Yes. I mean, practically, if it's a tiny
15 A. Correct. My opinion was simply here is the               15 little bit, if it's a tenth a percent above zero,
16 amount of economic profits of Meta. Here is the             16 there's probably not going to be a rush to enter
17 amount of economic profits of the yardstick. And            17 that into -- (audio distortion.)
18 here is the difference.                                     18       Although someone might, you know, still
19 Q. Okay. Now let's talk about the general                   19 expand their business a little bit. So no, again, I
20 principles. As I understand your testimony, you're          20 don't have a particular number. I've never looked
21 saying, as a matter of Economics 101, if a firm             21 at it that way.
22 consistently has or in the long run has economic            22 Q. So -- okay. So I just want to again make
23 profits, then that is an indication that they have          23 sure that we're clear about this for the record. So
24 market power or monopoly power; is that right?              24 then if the judge and the jury in this case wanted
25 A. Yeah, again, in the -- you know, the term                25 to know what the numerical threshold is for there to
                                                          34                                                             36
1 "monopoly power," again, to the extent that's used           1 be a positive economic profit or an economic profit
2 as a synonym to "market power," used as a synonym to         2 for a nontransient period of time, do you have a
3 the ability to earn economic profits, then if I say          3 numerical threshold to offer to them?
4 one, then I'm saying all three. It's got economic            4      MS. LAWRENCE: Object to form.
5 profits.                                                     5    A. You know, again, I'm just -- I just did the
6     Q. Now, if the judge and the jury in this case           6 calculations of what the economic profit is.
7 wanted to know how many years a firm has to have             7    Q. So I take it the answer to that question was
8 economic profit in order to have that market power,          8 no?
9 do you have an answer for them?                              9    A. No, I don't have a -- not -- not giving any
10      MS. LAWRENCE: Object to form.                          10 guidelines as to what the cutoff point would be.
11 A. No, I've never -- I've never done that.                  11 Q. Let's talk about some of the economic --
12 I've never come to any conclusion that there is some        12 some of the foundational economic principles and
13 finite period of time that is a threshold for that          13 make sure that you and I are on the same page about
14 determination.                                              14 them before we dig into your EPR analysis.
15 Q. Now, you also said that a firm has to have               15     Would you agree with me that as a matter of
16 an earn economic profit over that consistent period         16 economics, high profits or net positive profits can
17 of time.                                                    17 exist even for years for reasons unrelated to
18      Is there a numerical threshold for how much            18 anticompetitive conduct?
19 economic profit a firm has to have for whatever that        19 A. Yes.
20 consistent period of time is, or is it just anything        20 Q. Would you agree with me that Meta could have
21 above zero?                                                 21 had higher profits than the yardstick firms because
22      MS. LAWRENCE: Object to form.                          22 they offered a superior product?
23    A. Again, I'm just -- I'm just going with a              23     MS. LAWRENCE: Object to form.
24 standard definition I've seen in economics as to            24 A. Again, there's a lot -- a lot of reasons why
25 what market power is. The definition that I've seen         25 companies have persistent market power.
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                                              Transcript of Kevin Kreitzman                                10 (37 to 40)

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                                                          37                                                             39
1     Q. Right. And this particular case, you'd                1       And so I'm not asking you for, is anything
2  agree  with me that Meta could have had higher              2  possible  like you know --
3 profits than the yardstick firms because it offered          3     A. Yeah.
4 a superior product to those -- than those firms;             4     Q. -- some like crazy outlier possibility.
5 right?                                                       5       I'm asking you about real-world economic
6        MS. LAWRENCE: Object to form.                         6 dynamics that you are an expert in, or you're
7     A. Okay. So let me kind of back up a little              7 holding yourself out to be an expert in. So let's
8 bit. And what I did was I calculated the amount of           8 be reasonable about what the bounds are of
9 economic profits earned by Meta. I didn't -- I               9 possibility. That's what I'm asking you to do.
10 didn't go in and evaluate whether this was a result         10 A. Yeah.
11 of legal or illegal content. I have no opinion on           11 Q. You understand that in different industries,
12 that.                                                       12 that a company can have higher economic profits than
13 Q. Okay. So fair. So you're saying you have                 13 the yardstick firms because it has a superior
14 no opinion as to what the cause was for Meta's --           14 product; right? You've seen that? You know
15 the higher profit that you calculated that Meta had;        15 that's --
16 is that fair?                                               16      (Indiscernible crosstalk.)
17 A. That's fair.                                             17      MS. LAWRENCE: Object to form.
18 Q. Now, stepping back, you'd agree with me that             18 A. You know, again, I don't -- I have not
19 it is possible that one of the reasons that Meta had        19 analyzed the reasons for economic profits being
20 higher profits than the yardstick firms, is they had        20 higher than something else or greater than zero.
21 a superior product; right?                                  21 Q. So you can't tell the judge and the jury in
22       MS. LAWRENCE: Object to form.                         22 this case that Meta's -- well, let me put it this
23 A. You know, anything is possible.                          23 way.
24 Q. And you haven't analyzed that and ruled that             24      You have no opinion with respect to whether
25 out; right?                                                 25 or not Meta's higher profits in this case resulted
                                                          38                                                             40
1      MS. LAWRENCE: Object to form.                           1 from superior product quality; right?
2    A. Again, I haven't -- I haven't analyzed and             2     A. No, I have no opinion on that.
3 tried to assign the reasons for economic profits. I          3     Q. And so you can't suggest to the judge and
4 looked and measured and calculated the economic              4 jury that Meta's higher profits aren't caused by
5 profits.                                                     5 higher product quality, can you?
6    Q. You have not -- you would agree with me that           6       MS. LAWRENCE: Object to form.
7 it's possible that Meta could have had its higher            7     A. Again, I have not tried to isolate sources
8 economic profits as a result of superior management          8 of economic profits. I calculated what they were.
9 quality; right?                                              9     Q. And is that also true for superior
10     MS. LAWRENCE: Object to form.                           10 management quality? You have not analyzed whether
11 A. Again, I have not -- I have not done any                 11 or not Meta's higher economic profits are a result
12 analysis of the source of the economic profits. And         12 of superior management quality; correct?
13 when you say something is possible, I think you can         13 A. Again, I have not done that analysis.
14 say, you know, anything is possible. I haven't              14 Q. So you can't say that that's not the cause
15 seen -- seen or analyzed any evidence of this.              15 for the higher profits; right?
16 Q. Correct. So --                                           16      MS. LAWRENCE: Object to form.
17     (Indiscernible crosstalk.)                              17 A. I've -- I have not done that analysis, so
18 A. -- theoretical, you know, if -- you know,                18 I'm not -- I'm not going to give opinions on things
19 what -- almost anything you can say, you can say            19 I haven't done, no.
20 well, that's possible.                                      20 Q. Okay. It's also true then that you haven't
21 Q. Well, let's -- but let's be real here. I                 21 analyzed whether or not Meta's higher economic
22 mean, you are -- you are saying that you are an             22 profits are a result of superior human capital;
23 expert in financial analysis, and you've obviously          23 correct?
24 had a lot of experience analyzing economic profits          24 A. Really the same answer. I haven't -- I have
25 across different firms and different industries.            25 not tried to assign sources and causes of the
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                                              Transcript of Kevin Kreitzman                                  11 (41 to 44)

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1 economic profits.                                             1     A. There was nothing to adjust. The economic
2    Q. So that's true for superior human capital as            2  profits  are based on the cash flows. The cash flows
3 well; right?                                                  3 in, the modern capital, these other factors, so
4    A. Yes.                                                    4 there were no adjustments to make for any of those
5    Q. And that's also true for -- well, let me ask            5 factors in my calculations.
6 the question more completely.                                 6     Q. And then with respect to your selection
7      You have not analyzed whether or not Meta's              7 criteria, did you specifically adjust for or design
8  higher  profits could be attributable to or caused by        8 for your selection criteria to select firms that
9 effective product differentiation; correct?                   9 were comparable to Meta on those dimensions that I
10 A. Okay. So kind of the same answer again. I                 10 just mentioned: Superior product, superior
11 did not -- I did not go through and try to assign            11 management quality, superior human capital, product
12 sources of economic profits to the risk factors.             12 differentiation, or product innovation?
13 Q. Right. And that's true for product                        13 A. No, and I guess we're assuming that all
14 differentiation as a potential cause for higher              14 these things were superior. I didn't look at them
15 profits; right?                                              15 at all, so I didn't say that -- again, I did not
16 A. Yes, I have not -- I have not done that                   16 look at the source. I calculated the economic
17 analysis.                                                    17 profits.
18 Q. And you have not analyzed whether or not                  18 Q. Okay. But what I'm asking is, those five
19 Meta's higher profits result from wise investment            19 criteria that I just mentioned: Product quality,
20 and product innovation; right?                               20 management quality, human capital, product
21 A. I haven't done that analysis.                             21 differentiation, and innovation, those are not
22 Q. And you have not analyzed whether or not                  22 criteria that you adjusted for in your selection
23 Meta's higher profits might result from alleged              23 criteria in order to select firms that were
24 anticompetitive conduct unrelated to the advertiser          24 comparable to Meta on those five dimensions;
25 plaintiffs' claims; right?                                   25 correct?
                                                           42                                                             44
1     A. I have not done that analysis.                         1     A. No, those were not in the -- we had -- I
2     Q. Now, you also have not analyzed whether or             2 think we were very clear on what the six criteria
3 not Meta's ad revenues could be -- so I'm setting             3 were. So if it wasn't one of those, then it's -- it
4 aside profits for a moment.                                   4 wasn't one of the selection criteria.
5     A. Yeah.                                                  5     Q. Right. And what I guess I want to be very
6     Q. I'm talking about ad revenues.                         6  clear about so that there's no confusion down the
7      You have not analyzed whether or not Meta's              7 road is, the five criteria I just mentioned, product
8 ad revenues are attributable to factors like                  8 quality, management quality, human capital, product
9 superior product, superior management quality,                9 innovation, and product differentiation, those are
10 superior human capital, product differentiation, or          10 not in the six criteria that you selected for;
11 innovation; correct?                                         11 correct?
12 A. Yes. Once again, I did not -- I did not                   12 A. Well, I mean, in order to have criteria,
13 look for sources of economic profits. I calculated           13 they need to be things that you can measure and can
14 what they were.                                              14 get information on.
15 Q. Right. But I'm talking about ad revenues                  15 Q. Right. And so they were not part of your
16 right now. You have not analyzed whether or not or           16 six selection criteria?
17 the extent to which Meta's ad revenues are driven by         17 A. No.
18 those factors; correct?                                      18 Q. Is that right?
19 A. Again, I did not look at that, yes.                       19 A. Well, no, there would be no practical way to
20 Q. And is it also fair to say that in your                   20 say management quality.
21 economic profit analysis, you did not adjust your            21 Q. Okay. So --
22 calculations to account for those factors: Superior          22 A. Yeah. To me, it's an odd question because
23 product, superior management quality, superior human         23 I'm not using criteria that couldn't be used.
24 capital, product differentiation, or product                 24 Q. Yeah, because of the way the question was
25 innovation?                                                  25 asked -- this is on me -- the transcript might be a
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                                             Transcript of Kevin Kreitzman                                  12 (45 to 48)

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1 little muddy. So I want this to be clear. I'm                1     A. Correct.
2 gonna try to ask it in a way where you can answer it         2     Q. Now, is it also fair, then, that nothing in
3 and it will be very clear what the answer is.                3 your opinion excludes the possibility that those
4       So the five criteria that I just mentioned,            4 factors, product quality, management quality, human
5 product quality, management quality, human capital,          5 capital, product differentiation, and product
6 product differentiation, and product innovation,             6 innovation, are the cause for Meta's profits?
7 those are not criteria that you used to select the           7       MS. LAWRENCE: Object to form.
8 comparable firms; is that correct?                           8     A. Okay. So, again, the calculation, it's --
9     A. Yeah. Those are not criteria that could be            9 I'm gonna give the same answer no matter what the
10 used.                                                       10 cause was. It's --
11 Q. And the reason you're saying that is because             11 Q. Right. My --
12 those are qualitative and not quantitative criteria;        12 A. Yeah, so it's -- it's the profits compared
13 is that your testimony?                                     13 to the weighted average cost of capital. So those
14 A. Let me think if that is -- you can put it                14 things wouldn't be included in a calculation -- in
15 that simply. Well, they're not things that could            15 the estimation of economic profits.
16 be -- there would be no basis for reasonably                16 Q. Right. But let's go back to my question.
17 estimating them.                                            17 Given what you just said, nothing in your opinion
18 Q. Okay. Now, apart from the selection                      18 would exclude the possibility that those other
19 criteria, so I know your selection criteria did not         19 factors, product quality, management quality, human
20 factor those five things in. Apart from that, did           20 capital, product differentiation, and product
21 your economic profits analysis factor in or adjust          21 innovation, are the cause for Meta's profits; right?
22 for the five criteria that I just mentioned,                22      MS. LAWRENCE: Object to form.
23 superior product or product quality, management             23 A. Again, I didn't just find anything as to the
24 quality, human capital, product differentiation, or         24 cause of the economic profits. I measured what they
25 product innovation, in any way?                             25 were. So --
                                                          46                                                             48
1       MS. LAWRENCE: Object to form.                          1     Q. Right. So your opinion doesn't exclude the
2     A. Again, it's a calculation. And it's a                 2 possibility that those would be the causes; right?
3 calculation of the profits earned by Meta or                 3     A. No, my opinion is just what the economic
4 whatever company compared to its cost to capital.            4 profits are.
5 Those are the things that are used for calculating           5     Q. And is it also true that your opinion does
6 economic profit. There's no adjustments to make              6  not exclude the possibility that the excess economic
7 anywhere. The economic profit is what it is                  7 profits, or the higher economic profits that you
8 regardless of the source.                                    8 calculate relative to the yardsticks are caused by
9     Q. Okay. Maybe I can ask the question a little           9 those other five factors?
10 bit differently. I think I understand what you're           10 A. Kind of the same answer again. I didn't --
11 saying.                                                     11 I did not do any analysis as to what was the cause
12      In your identification of the yardstick                12 of economic profits or excess economic profits.
13 firms, did you make any adjustments or otherwise            13 Q. Now, going, again, back to sort of your
14 consider product quality, management quality, human         14 understanding of the foundational economic
15 capital, product differentiation, or product                15 principles, you would agree with me that it is
16 innovation in selecting those comparable firms?             16 possible for firms in competitive industries to have
17      MS. LAWRENCE: Object to form.                          17 positive economic profit; right?
18 A. Well, those would have been -- wouldn't                  18 A. Are we talking -- I mean, in a -- in a
19 necessarily have been a very subjective set of              19 theoretically perfectly competitive industry and
20 criteria. So no, it's not the type of thing that            20 equilibrium, I suppose there could still be some
21 would work as a criteria. Or an adjustment to a             21 that have a slight advantage over others. So there
22 criteria.                                                   22 can be -- there can be some economic profits in --
23 Q. So the answer to my question is no, that's               23 in kind of in the real world where there's
24 not something that you considered or adjusted for;          24 competition but not perfect competition.
25 correct?                                                    25 Q. Okay. And you would agree with me -- well,
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